Case 1:17-cv-05495-BMC Document 375 Filed 11/15/22 Page 1 of 1 PageID #: 60870
                                                       P E A R S O N , S I M O N & W A R S H A W , LLP
                                                                     15165 VENTURA BLVD., SUITE 400
                                                                            SHERMAN OAKS, CA 91403
                                                                                     (818) 788-8300
                                                                                 WWW.PSWLAW.COM




Hon. Brian M. Cogan                                                             November 15, 2022
United States District Court
Eastern District of New York
225 Cadman Plaza East, Brooklyn, NY 11201

               Re:     NASL v. USSF and MLS, No. 1:17-cv-05495

Dear Judge Cogan:

      I am writing on behalf of Plaintiff North American Soccer League LLC (“NASL”) to provide
a brief summary of the status of the above-referenced case, in light of its recent reassignment to
Your Honor, and to request a status conference so that a tentative trial date can be set for some
time in 2023.

        As you may know, this case was filed in 2017. Fact discovery was completed in mid-2019,
and expert discovery was completed in mid-to-late 2020. Both NASL and Defendants United
States Soccer Federation, Inc. and Major League Soccer, L.L.C. have served summary judgment
and Daubert motions. Those papers were filed with the Court in April 2021, and related sealing
papers were filed in May and June 2021. Those motions remain pending and await review and
disposition by the Court.

        As noted above, we would ask that the Court order a status conference to set a schedule for
the remainder of the case. In particular, we believe that given how long this case has been pending,
it would be appropriate for the Court to set a tentative trial date for some time in 2023, so that the
parties and the Court can block out these dates on their calendars and avoid a situation where other
conflicting obligations cause this long-pending case to be further delayed. For example, Plaintiff’s
counsel already have another trial tentatively scheduled for March of 2023 in the Northern District
of California, and we suspect that defense counsel may have some conflicting trial obligations as
well. It would thus be in all parties’ interests to set a tentative trial schedule in this case.

         We would be happy to answer any questions the Court may have relating to either trial
scheduling, the pending summary judgment motions, or any other matter the Court may wish to
raise at the requested status conference.

                                                      Respectfully submitted,

                                               By:    s/Jeffrey L. Kessler
                                                      Jeffrey L. Kessler
cc:    All counsel of record (via ECF)
